
676 S.E.2d 475 (2009)
STATE
v.
Eugene Johnny WILLIAMS.
No. 506A07.
Supreme Court of North Carolina.
April 16, 2009.
Daniel Shatz, Assistant Appellate Defender, Staples Hughes, Appellate Defender, Ann B. Petersen, Chapel Hill, for Williams.
Edward W. Grannis, Jr., District Attorney, for State.
The following order has been entered on the motion filed on the 15th day of April 2009 by State of NC for Extension of Time to File Brief:
"Motion Allowed. State of NC shall have up to and including the 11th day of May 2009 to file and serve his/her brief with this Court. By order of the Court in conference this the 16th day of April 2009."
